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                             TENTATIVE RULING
                     ISSUED BY JUDGE MARGARET M. MANN


Debtor:      DEBTOR CORE SUPPLEMENT TECHNOLOGY, INC.

Bk No.:      17-6078-MM7

Hearing:     10:00 AM, Thursday, May 30, 2019

Motion:      Application for Final Professional Compensation ("Application") filed by
             Branfman Mayfield Bustarde Reichenthal LLP (“MB”)


The court has considered the Application filed by MB, which the court appointed as
Chapter 11 Corporate Counsel for Debtor Core Supplement Technology, Inc., Debtor in
Possession. Most of MB's time, or a total of $11,623.50, was spent on business
operations. The balance was categorized as follows:

      CASE ADMINISTRATION - $63.00
      CORPORATE FINANCE - $283.50
      LITIGATION - $1,795.50
      FEE APPLICATION - $630.00
MB requested a total of $14,395.50 in fees for 45.7 hours of time and expenses of
$725.61.

The court has an independent duty to review fee applications under § 330. In re Busy
Beaver Bldg. Ctrs., Inc., 19 F.3d 833, 841 (3rd Cir. 1994). This court has serious
concerns about whether the services MB provided were of benefit to the estate, as it
has expressed repeatedly from the time it approved MB’s employment up to when it
converted this case to one under Chapter 7.

MB’s Employment
MB was employed pursuant to a February 12, 2018 order authorizing Debtor to retain
MB as its corporate counsel effective October 3, 2017. The scope of services to be
provided was described in the Application as follows:

      The debtor is a corporation and is thereby required to be represented by a
      licensed attorney. The scope of employment moving forward post-petition
      remains the same as described in the fee agreement attached as Exhibit
      A. Post-petition representation includes but is not limited to attending
      shareholder and director meetings[] and advising on general matters
      concerning corporate governance necessary to implement the Debtors
      Chapter 11 plan.
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Attached to the Application as Exhibit A was an engagement letter dated August 18,
2014 stating MB agreed to provide Debtor “Corporate Counsel” services.

Debtor’s Operation During MB’s Employment
The court's concerns about the value of MB’s services to the estate paralleled the
court’s concerns regarding how Debtor was operating during the administration of the
chapter 11 estate. While the court repeatedly expressed these concerns, MB does not
address them in its Application. Prior to conversion, Debtor's operating reports reflected
that it had lost over $400,000 since the petition date. Debtor filed a motion to sell
substantially all of its assets that court denied as it was unable to find Debtor had shown
that the estate would receive optimal value for the asset sold, that the buyer was a good
faith purchaser for value under 11 U.S.C. § 363(m), or that the release the buyer
received was "fair and equitable" to creditors or in the best interests of the estate.
During the proceedings in connection with the sale, Debtor did not identify any other
buyer who had made an offer to purchase Debtor's assets or any other course of
rehabilitation Debtor had pursued apart from the sale. Instead, Debtor repeatedly
advised the court that a sale must occur imminently as Debtor’s losses were multiplying.
See Decl. Stephen Hinze Supp. Ex Part App. Shortened Time, Jan. 11, 2018, Doc. 91,
¶ 4. The court appointed a Chief Restructuring Officer (“CRO”) but he was unable to
provide credible assistance to the court and continued to mismanage the Debtor,
including by presenting a sale that could not be affirmed. At the time of conversion,
Debtor had ceased operations and there was no substantial likelihood of rehabilitation.

Debtor's poor management extended to its employment of MB and Debtor compensated
MB even before it was employed by the estate, although the court understands these
fees were returned to the estate.

Legal Standard
Section 330(a)(4) prevents courts from awarding compensation for services that are
duplicative or that do not result in a material benefit to the estate (unless the
professional can show the services were reasonably likely to benefit the estate at the
time rendered). Ferrette & Slatter v. United States Tr. (In re Garcia), 335 B.R. 717, 720
(B.A.P. 9th Cir. 2005); Roberts, Sheridan & Kotel, P.C. v. Bergen Brunswig Drug Co. (In
re Mednet), 251 B.R. 103, 104 (B.A.P. 9th Cir. 2000). MB bears the burden of bear the
burden of proving the fees it requests are proper under § 330(a)(4)(A). In re Eliapo, 298
B.R. 392, 402 (B.A.P. 9th Cir. 2003) (citing In re Dalessio, 74 B.R. 721, 724 (B.A.P. 9th
Cir. 1987)) rev'd on other grounds, 468 F.3d 592, 595 (9th Cir. 2006); see also In re
Scoggins, 517 B.R. 206, 221 (Bankr. E.D. Cal. 2014).

Business Operations Category
When a professional’s services benefit the interests of an individual over the estate,
courts reduce or deny compensation. See, e.g., In re Select Tree Farms, Inc., 568 B.R.
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1, 5 (Bankr. W.D.N.Y. 2017) (attorney representing a corporate debtor and related
individuals was denied compensation for defending against a stay relief motion for a
vehicle driven by one of the individual clients where liquidation would have provided
value to the corporate estate); In re Cmty. Home Fin. Servs., No. 12-01703-NPO, 2017
Bankr. LEXIS 1192, at *22 (Bankr. S.D. Miss. May 1, 2017) (services provided which
were designed to benefit an insider’s guaranty lawsuit were not compensable by the
corporate debtor’s attorney under § 503); In re Digerati Techs., Inc., 537 B.R. 317, 361
(Bankr. S.D. Tex. 2015), aff'd sub nom. Herrera v. Dishon, No. 4:15-cv-00227, 2016
U.S. Dist. LEXIS 174627, 2016 WL 7337577 (S.D. Tex. Dec. 16, 2016) (debtor’s
counsel’s fees reduced by 5% where the reorganization plan proposed that provided
two officers with whom the attorney had “an overly cozy relationship” “absurdly high
compensation packages”).

Based on the court’s review of MB's time descriptions in this category, much of the
services provided benefited only individual board members and not the estate as the
services were provided to resolve disputes among the board members and not to pay
creditors. In MB’s own words: "most of [MB’s] time was spent on corporate governance
issuance [sic] amongst the board members as the board had dissention at the time."
More specifically, MB addressed board member inspection rights, the dissenting
investor's interference with the bankruptcy proceedings, the resignation of the
President, and appointment of the CRO. The appointment of the CRO was necessitated
by a dysfunctional board as averred to by the person who signed MB's employment
application, Joseph O'Dea. O’Dea provided the direction to MB even though Debtor was
ostensibly her client, and the time descriptions suggest MB took sides in the board
dispute in favor of O’Dea.

This case is most similar to Digerati Techs., 537 B.R. at 361-62, where the court
disallowed fees that were spent to promote the interests of two of its shareholder
instead of an independent assessment of what was appropriate for the estate. Here, MB
followed the direction of O'Dea when the estate was floundering in losses. MB also gave
advice on how O'Dea could deal with the director with whom O'Dea disagreed.

Despite the suggestion of disinterestedness, the court sees some benefit to the estate
from MB's effort to have a functioning board. Because the time descriptions do not allow
for a more precise calculation, the court could award fees of half of the amount
requested, or $5,811.75. Alternatively, the court would continue the matter for further
support of the fees requested from MB, since it has not met its burden of proof that its
services benefited the estate rather than the Debtor or O'Dea.

Litigation Services

The court did not permit the employment of MB for litigation services and the $1,795.50
in this category must be disallowed. McCutchen, Doyle, Brown & Enersen v. Official
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Comm. of Unsecured Creditors (In re Weibel, Inc.), 176 B.R. 209, 211 (B.A.P. 9th Cir.
1994) ("court approval of the employment of counsel for a debtor in possession is sine
qua non to counsel getting paid"). MB's employment application specifically stated that
a different fee agreement would need to be signed for these services. The supplemental
description of the services to be provided and the benefit to the estate also did not
reference litigation services.

Corporate Finance
The fees for Corporate Finance in the amount of $283.50 must be disallowed since
these are duplicative of those provided by general counsel and special counsel.

Conclusion
The court will allow fees of $6,504.75, plus costs in the reduced amount prayed for of
$725.61, to MB. As noted above, however, the court will also provide MB, if requested
at the hearing, an opportunity to supplement its time entries and provide a declaration to
substantiate more of the time in the business operations category.
